        Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 1 of 17




JOHN L GANNON # 1975
Attorney at Law
2309 Mountain View Drive #174
Boise, Idaho 83706
208-433-0629
Attorney for Plaintiffs
johngannon200@gmail.com

      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

SUSAN CHEW, MARIANNA “MUFFY”           )
DAVIS                                  )
                                       )                   CASE NO.
                  Plaintiff            )
                                       )                   AFFIDAVIT OF MARIANNA
      v                                )                   “MUFFY” DAVIS
                                       )
THE LEGISLATURE OF THE STATE OF        )
 IDAHO; SCOTT BEDKE in his capacity as )
ADMINISTRATOR OF THE                   ),
HOUSE OF REPRESENTATIVES               )
                                       )
                  Defendants           )
______________________________________ )

STATE OF IDAHO                )
                              ss
County of                    )


       MARIANNA “MUFFY” DAVIS who first being duly sworn deposes and says:

       I am a paraplegic which resulted from a complete spinal cord injury (SCI) at the Thoracic

5/6 level in 1989 when I was 16 years old from a ski accident. I have had no functional return

below my injury level since my injury and require a manual wheelchair for my mobility. The

level of my injury limits my respiratory capacity, as I have no functional abdominal muscles to



AFFIDAVIT OF MARIANNA “MUFFY” DAVIS                                                               1
        Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 2 of 17




assist with expiration of breath and therefore am more at risk for respiratory diseases and

infection. In fact, the average SCI person’s risk of dying of pneumonia is 37 times higher than

the general population. Additionally, the leading causes of death for SCI people is respiratory

disease or infection.

       Coughing for me is a challenging feat. Since I don’t have the abdominal muscles to help

me expel mucus from my lungs, I must sit up and lean forward to compress my chest and

abdominal cavity to get the force to cough. I am completely unable to cough lying down and

therefore, when sleeping if I have to cough, I have to sit up and compress my abdominal cavity

to have the pressure to force a cough. It is because of these reasons that I am at a much greater

risk of developing a respiratory illness that could become life threatening or even fatal.

       With Covid-19 being a worldwide respiratory pandemic, I am quite worried about my

personal risk should I become infected. Even if I were only to get sick and not die, the potential

for lifelong increased limitations to my respiratory capacity is great. And with already limited

respiratory functioning, that is the last thing I want to go through especially if it is avoidable.

Therefore throughout this whole pandemic, I have been very diligent to limit my risk, I have

isolated, limited my public interactions, worn face masks in public, socially distanced and have

not hugged any family or friends other than my immediate family with whom I live. I do all this

to limit my risk of contracting the Covid-19 virus and risking my health and life.

                          REASONABLE ACCOMMODATION REQUESTS

       I made several requests to the administrator of the House, Speaker Scott Bedke. Attached


AFFIDAVIT OF MARIANNA “MUFFY” DAVIS                                                                   2
        Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 3 of 17




hereto. One request was on November 5, another on November 9 and another on December 1,

2020. I never received a response. Also, on December 31, 2020, I sent one last request which

was not responded to.

       In order for me to represent my constituents, who overwhelmingly elected me the past

two elections, I need to be able to participate in all legislative functions. Even before Covid-19, I

had difficulty fully participating and navigating the Idaho State Capitol, which is not very ADA

compliant for guests but especially bad for legislators. The Speaker and House leadership have

tried to be accommodating and I have not pressured for full ADA compliance yet. But in terms

of getting around the office cubicles are tight and the hallways to my and other legislators offices

are quite narrow. In my wheelchair I almost fully occupy the entire width of the hallway.




AFFIDAVIT OF MARIANNA “MUFFY” DAVIS                                                                 3
        Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 4 of 17




       Additionally, there are limited places I can have my seat on the House floor as it is not

fully accessible, and I am not able to get to many of the floor desks. This adds a challenge to

doing my work as a representative as much of the work is networking and talking with other

legislators about proposed bills and legislation. Often legislators will drop by a fellow legislators

desk and discuss thoughts or solicit support for an upcoming bill or vote. I am not able to do this

and am forced to call other legislators when I need to talk with them or discuss upcoming

legislation or request their support for a bill I am presenting. Additionally, I am only able to enter

and exit the House Floor through the front Well and am limited in when I can come and go.

While the Speaker has made an exception to the House rules for me to be able to come and go

through the Well whenever I need to, it is embarrassing and not my preference to draw attention

to myself through doing that. Therefore, I feel somewhat limited in my ability to come and go

when the House is in session on the floor.

       In addition, in order for me to move from floor to floor in the Capitol, I have to use the

elevators, and many times, especially right before a floor session, the elevators are packed and

sometimes I cannot make the first elevator as its too crowded and I have to wait for it to come

back to get to the 3rd floor. During the special session last August 24-26th, there were many

times I was forced to be in the confined space of the elevator with many other legislators, most

who were not wearing masks. There was a sign in the elevator requesting no more than 3 people

at a time, but no one paid attention to that and there were often many over that number at a time

in there. I do not feel it is safe, fair or reasonable to force me to, in order to accomplish my job,


AFFIDAVIT OF MARIANNA “MUFFY” DAVIS                                                                     4
        Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 5 of 17




ride in a confined elevator with many other people who are not practicing safe procedures, mask

wearing, social distancing, etc…

       Furthermore, because of the height of my wheelchair I am at a disadvantage because my

head is lower than most standing people. When they talk, cough or sneeze their respiratory

droplets travel down to where I am sitting, this makes me quite vulnerable in situations where

people are not socially distancing or wearing masks3. During the special session I noticed that I

was on the receiving end of many people’s respiratory discharge and was very uncomfortable.

While we are in a pandemic, it doesn’t seem reasonable nor prudent to put myself, an already

vulnerable person, in an even more vulnerable situation in order for me to accomplish my job.

              HEALTH AND SAFETY CONCERNS AT SPECIAL SESSION
       Having been a member of the House Judiciary and Rules Committee, I had a front row

experience to the chaos and mayhem that overtook our special session and the lack of decorum

or safety that was afforded to us legislators by the rioting public from House leadership. On

August 24th, our committee hearing room was flooded with people who were neither socially

distancing nor respecting the Committee Chair when he asked for civility. Because of this,

Chairman Chaney moved our hearing room to the Lincoln Auditorium to accommodate the

public. The Lincoln Auditorium only has one accessible entrance and exit, which is through the

seating area where the public sits. There is another entrance/exit at the back of the room, but it

has several steps and therefore is inaccessible to those using a wheelchair. While the committee

hearings on the 24th went rather smoothly once we moved to the Lincoln Auditorium, anything


AFFIDAVIT OF MARIANNA “MUFFY” DAVIS                                                                  5
        Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 6 of 17




but that happened during the committee hearing on the 25th which was again in the Lincoln

Auditorium. On this particular day, Chairman Chaney requested that two unofficially

credentialed people who were sitting in the press area move, when they refused to move, he

requested the State Troopers come in and forcibly remove them. At this moment the public broke

into a chaotic riot screaming at Chairman Chaney, yelling at the Troopers, it was total mayhem.



This is a 9 second movie I took from my seat:




                                          IMG_2604.MOV



This is a picture of the chaos:




AFFIDAVIT OF MARIANNA “MUFFY” DAVIS                                                               6
        Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 7 of 17




         Initially I wasn’t too worried but as the people became more and more vocal, rebellious

and disruptive, I started to really worry as to how I would safely exit this situation. I knew that

many, if not most, of the people who were yelling and angered with the situation were carrying

guns and I knew the only way I could exit was straight through the middle of the rioting. Other

legislators had exited via the back exit that contained stairs, but I was stuck, forced to go right

through the middle of the riot to exit. I asked two State Troopers to help me to get out, one went

in front and broke through the people and the other pushed me up the incline through the crowd.

I just hoped and prayed that while we were leaving no one fired a gun. This is all not to mention

that most of the people in attendance were not wearing masks and were definitely not socially

distanced. In addition to the risk of rolling through a rioting crowd, I was also forced to be made

vulnerable to possible Covid-19 exposure and infection, just through trying to do my job. Never

when I ran for office, nor when I was elected did I think in order to do my job, I would be putting

my life at risk through riotous mayhem and potential life threatening infection. That is not what I

signed up for by running for civil service office.

               It is for all the above-mentioned reasons and situations that I am requesting

reasonable accommodation under the ADA. The requests I am asking for: that I be able to

participate, debate and vote remotely, that I have an office that is safe, enclosed and has outside

ventilation (an openable window) and that Speaker Bedke make sure to provide sufficient safety

and security so that I don’t have to put my life in jeopardy in order to do my job, I feel are all



AFFIDAVIT OF MARIANNA “MUFFY” DAVIS                                                                   7
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 8 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 9 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 10 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 11 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 12 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 13 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 14 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 15 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 16 of 17
Case 1:21-cv-00014-DCN Document 2-2 Filed 01/07/21 Page 17 of 17
